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                       UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF CALIFORNIA
                                                                    tUn SEP 24 PH \: 02
UNITED STATES OF AMERICA,                   CASE NO.   12CR1284-MM~L                 .... ;\ ... :10r
                                                                    np-"­
                                                                   )~.-.




                      Plaintiff,                                                   ~
                                                                   "'y-_.. . _-"_.            Of?j;r>~'



               vs.                          JUDGMENT OF DISMISSAL
DAVID DEAN LARGO (01),

                       Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

     an indictment has been filed in another case against the defendant and
     the Court has granted the motion of the Government for dismissal of
     this case, without prejudice; or

     the Court has dismissed the case for unnecessary delay; or

~    the Court has granted the motion of the Government for dismissal,
     without prejudice; or

     the Court has granted the motion of the defendant for a judgment of
     acquittal; or

     a jury has been waived, and the Court has found the defendant not
     guilty; or

     the jury has returned its verdict, finding the defendant not guilty;

     of the offense(s) as charged in the Indictment/Information:




           IT IS THEREFORE ADJUDGED that


DATED: 9/23/2013
                                            Michael M. Anello
                                            U.S. District Judge




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